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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                  CASE:
  ACCESS 4 ALL INCORPORATED
  and JUAN CARLOS GIL,

              Plaintiff,
  v.

  DIAZZA, LLC and SUPREME BAKERY,
  INC.,

          Defendants.
  ______________________________________/

                                              COMPLAINT

         Plaintiffs, ACCESS 4 ALL INCORPORATED and JUAN CARLOS GIL, individually and

  on behalf of all other similarly situated mobility-impaired individuals (hereinafter “Plaintiffs”),

  sues DIAZZA, LLC and SUPREME BAKERY, INC. (hereinafter “Defendants”), and as grounds

  alleges:

                               JURISDICTION, PARTIES. AND VENUE

         1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

  and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.         Plaintiff, JUAN CARLOS GIL, is an individual over eighteen years of age, with a
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  residence in Miami-Dade County, Florida, and is otherwise sui juris.

          5.       Plaintiff, ACCESS 4 ALL INCORPORATED, is a Florida Not For Profit

  Corporation, formed under the laws of the State of Florida, and maintains its principal office at

  Torrence, California.

          6.       At all times material, Defendant, DIAZZA, LLC, owned and operated a place of

  public accommodation located at 8711 SW 9th Terrace, Miami, Florida 33174 (hereinafter the

  “Commercial Property”) and conducted a substantial amount of business in that place of public

  accommodation in Miami-Dade County, Florida.

          7.       At all times material, Defendant, DIAZZA, LLC, was and is a Florida Limited

  Liability Company, organized under the laws of the State of Florida, with its principal place of

  business in Miami, Florida.

          8.       At all times material, Defendant, SUPREME BAKERY, INC., owned and operated

  a commercial bakery and café business at 8743 SW 9th Terrace, Miami, Florida 331741

  (hereinafter the “Commercial Property”) and conducted a substantial amount of business in that

  place of public accommodation in Miami-Dade County, Florida. Defendant, SUPREME

  BAKERY, INC., holds itself out of the public as “Le Fournil.”

          9.       At all times material, Defendant, SUPREME BAKERY, INC., was and is a Florida

  Profit Corporation, incorporated under the laws of the State of Florida, with its principal place of

  business in Miami, Florida.

          10.      Venue is properly located in the Southern District of Florida because Defendants’

  Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct


  1
   According to the Miami-Dade Property Appraiser website, this address is located within the place of public
  accommodation owned and operated by landlord Defendant, DIAZZA, LLC.
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  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                        FACTUAL ALLEGATIONS

          11.     Although over twenty-eight (28) years have passed since the effective date of Title

  III of the ADA, Defendants have yet to make its facilities accessible to individuals with

  disabilities.

          12.     Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

  publicity the ADA has received since 1990, Defendants continue to discriminate against people

  who are disabled in ways that block them from access and use of Defendants’ businesses and

  properties.

          13.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance.

          14.     Plaintiff, JUAN CARLOS GIL, is an individual with disabilities as defined by and

  pursuant to the ADA. Plaintiff, JUAN CARLOS GIL, is substantially limited in major life

  activities due to his impairment and requires the use of a wheelchair to ambulate. Plaintiff, JUAN

  CARLOS GIL, is also a member of the Plaintiffs organization, ACCESS 4 ALL

  INCORPORATED, discussed below.

          15.     Defendant, DIAZZA, LLC, owns, operates and oversees the Commercial Property,

  its general parking lot and parking spots.

          16.     The subject Commercial Property is open to the public and is located in Miami,

  Miami-Dade County, Florida.


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         17.     The individual Plaintiff visits the Commercial Property and businesses located

  within the Commercial Property, regularly, to include visits to the Commercial Property and

  businesses located within the Commercial Property on or about April 29, 2021, and encountered

  multiple violations of the ADA that directly affected his ability to use and enjoy the Commercial

  Property and businesses located therein. He often visits the Commercial Property and businesses

  located within the Commercial Property in order to avail himself of the goods and services offered

  there, to perform services including but not limited to recruitment of new members on behalf of

  ACCESS 4 ALL INCORPORATED, because it is approximately nine (9) miles from his residence

  and is near other businesses and restaurants he frequents as a patron. He plans to return to the

  Commercial Property and the businesses located within the Commercial Property within two (2)

  months of the filing of this Complaint, specifically on or before August 22, 2021.

         18.     Plaintiff resides nearby in the same County and state as the Commercial Property

  and the businesses located within the Commercial Property, has regularly frequented the

  Defendants’ Commercial Property and the businesses located within the Commercial Property for

  the intended purposes because of the proximity to his residence and other businesses that he

  frequents as a patron, and intends to return to the Commercial Property and businesses located

  within the Commercial Property within two (2) months from the filing of this Complaint,

  specifically on or before August 22, 2021.

         19.     The Plaintiff found the Commercial Property, and the businesses located within

  the Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and businesses located within the Commercial Property and

  wishes to continue his patronage and use of each of the premises.


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          20.    ACCESS 4 ALL INCORPORATED, is a not-for-profit Florida corporation.

  Members of this organization include individuals with disabilities as defined by the ADA, and

  are representative of a cross-section of the disabilities protected from discrimination by the ADA.

  The purpose of this organization is to represent the interest of its members by assuring places of

  public accommodation are accessible to and usable by the disabled and that its members are not

  discriminated against because of their disabilities. ACCESS 4 ALL INCORPORATED, and its

  members have suffered and will continue to suffer direct and indirect injury as a result of the

  Defendant's discrimination until the Defendant is compelled to comply with the requirements of

  the ADA. One or more of its members has suffered an injury that would allow him or her to bring

  suit in his or her own right. JUAN CARLOS GIL, has also been discriminated against because of its

  association with its disabled members and their claims.

          21.    The Plaintiff has encountered architectural barriers that are in violation of the ADA

  at the subject Commercial Property, and businesses located within the Commercial Property. The

  barriers to access at the Commercial Property, and the businesses located within the Commercial

  Property have each denied or diminished Plaintiff’s ability to visit the Commercial Property, and

  businesses located within the Commercial Property, and have endangered his safety in violation

  of the ADA. The barriers to access, which are set forth below, have likewise posed a risk of

  injury(ies), embarrassment, and discomfort to Plaintiff, JUAN CARLOS GIL, and others similarly

  situated.

          22.    Defendants, DIAZZA, LLC and SUPREME BAKERY, INC., own and/or operate

  a place of public accommodation as defined by the ADA and the regulations implementing the

  ADA, 28 CFR 36.201 (a) and 36.104. Defendants, DIAZZA, LLC and SUPREME BAKERY,


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  INC., are responsible for complying with the obligations of the ADA. The place of public

  accommodation that Defendants, DIAZZA, LLC and SUPREME BAKERY, INC., own and

  operate the Commercial Property Business located at 8711 SW 9th Terrace, Miami, Florida

  33174.

           23.   Plaintiffs, ACCESS 4 ALL INCORPORATED and JUAN CARLOS GIL, have a

  realistic, credible, existing and continuing threat of discrimination from the Defendants’ non-

  compliance with the ADA with respect to the described Commercial Property and the businesses

  located within the Commercial Property, including but not necessarily limited to the allegations

  in this Complaint. Plaintiff has reasonable grounds to believe that he will continue to be subjected

  to discrimination at the Commercial Property, and businesses located within the Commercial

  Property, in violation of the ADA. Plaintiff desires to visit the Commercial Property and

  businesses located therein, not only to avail himself of the goods and services available at the

  Commercial Property, and businesses located within the Commercial Property, but to assure

  himself that the Commercial Property and businesses located within the Commercial Property are

  in compliance with the ADA, so that he and others similarly situated will have full and equal

  enjoyment of the Commercial Property, and businesses located within the Commercial Property

  without fear of discrimination.

           24.   Defendant, DIAZZA, LLC, as landlord and owner of the Commercial Property

  Business, is responsible for all ADA violations listed in this Complaint.

           25.   Plaintiff, JUAN CARLOS GIL, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and businesses located within the Commercial Property, but not


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  necessarily limited to the allegations in this Complaint. Plaintiff has reasonable grounds to believe

  that he will continue to be subjected to discrimination at the Commercial Property, and businesses

  within the Commercial Property, in violation of the ADA. Plaintiff desires to visit the Commercial

  Property and businesses within the Commercial Property, not only to avail himself of the goods

  and services available at the Commercial Property and businesses located within the Commercial

  Property, but to assure himself that the Commercial Property, and businesses located within the

  Commercial Property are in compliance with the ADA, so that he and others similarly situated

  will have full and equal enjoyment of the Commercial Property, and businesses located within the

  Commercial Property without fear of discrimination.

         26.     Defendants have discriminated against the individual Plaintiff by denying him

  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

  and/or accommodations of the Commercial Property, and businesses located within the

  Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                      COUNT I – ADA VIOLATIONS
                                         AS TO DIAZZA, LLC
         27.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  26 above as though fully set forth herein.

         28.     Defendant, DIAZZA, LLC, has discriminated, and continues to discriminate,

  against Plaintiff in violation of the ADA by failing, inter alia, to have accessible facilities by

  January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and gross

  receipts of $500,000 or less). A list of the violations that Plaintiff encountered during his visit to

  the Commercial Property, include but are not limited to, the following:



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       A. Parking and Exterior Accessible Route

  i.   Accessible parking and Access Aisle are located on a slope > 3%. There is no compliant

       accessible route to enter the building, preventing Mr. Gil’s safe unloading from vehicles and

       accessing facilities violating ADAAG Section 4.6 and Section 502 of the 2010 ADA Standards,

       the solution is readily achievable.

       B. Entrance Access and Path of Travel

  i.   Cross slopes, changes of level and improper walks impede Mr. Gil’s path of travel to enter

       and travel between store interior areas to and from parking, sidewalks and public transit

       violating the ADAAG and 2010 ADAS Sections 303, 304, 403 and 404 where the solutions

       are readily achievable.

 ii.   There is a slope at the entry > 4% in violation of the ADAAG and Section 404 of the 2010

       ADA Standards. This condition is readily achievable to repair and prevents Mr. Gil from

       accessing the facility without assistance.

iii.   The ramp connecting the bakery to outdoor dining area is > 16.5% which is dangerous to Mr.

       Gil at twice the maximum allowable slope in the ADAAG and 2010 ADAS.

                               COUNT II – ADA VIOLATIONS
                      AS TO DIAZZA, LLC AND SUPREME BAKERY, INC.

           29.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

    26 above as though fully set forth herein.

           30.     Defendants, DIAZZA, LLC and SUPREME BAKERY, INC., have discriminated,

    and continues to discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to

    have accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer

    employees and gross receipts of $500,000 or less).         A list of the violations that Plaintiff

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    encountered during his visit to the Commercial Property, include but are not limited to, the

    following:

       A. Access to Goods and Services

  i.   The plaza fails to make reasonable accommodations in policies, practices and procedures to

       provide full and equal enjoyment of disabled individuals and does not maintain the elements

       required to be accessible and usable by persons with disabilities violating Section 36.211 of

       the ADAAG and the 2010 ADA Standards.

 ii.   Check-out and work surface areas at the plaza are inaccessible to the plaintiff and violate

       various ADAAG and 2010 ADAS requirements.

                                  RELIEF SOUGHT AND THE BASIS

           31.     The discriminatory violations described in this Complaint are not an exclusive list

    of the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places of

    public accommodation in order to photograph and measure all of the discriminatory acts violating

    the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

    requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

    presence, which prevented Plaintiff, JUAN CARLOS GIL, from further ingress, use, and equal

    enjoyment of the Commercial Business and businesses located within the Commercial Property;

    Plaintiff requests to be physically present at such inspection in conjunction with Rule 34 and

    timely notice. A complete list of the Subject Premises’ ADA violations, and the remedial

    measures necessary to remove same, will require an on-site inspection by Plaintiff’s

    representatives pursuant to Federal Rule of Civil Procedure 34.

           32.     The individual Plaintiff, and all other individuals similarly situated, have been


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   denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

   privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

   businesses and facilities; and has otherwise been discriminated against and damaged by the

   Defendants because of the Defendants’ ADA violations as set forth above. The individual

   Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

   damage without the immediate relief provided by the ADA as requested herein. In order to remedy

   this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of

   public accommodation in order to determine all of the areas of non-compliance with the

   Americans with Disabilities Act.

           33.     Defendants have discriminated against the individual Plaintiff by denying him

   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of its place of public accommodation or commercial facility, in violation of 42

   U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, Defendants continue to

   discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

   modifications in policies, practices or procedures, when such modifications are necessary to afford

   all offered goods, services, facilities, privileges, advantages or accommodations to individuals

   with disabilities; and by failing to take such efforts that may be necessary to ensure that no

   individual with a disability is excluded, denied services, segregated or otherwise treated

   differently than other individuals because of the absence of auxiliary aids and services.

           34.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

   clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

   those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled


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   to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

   12205 and 28 CFR 36.505.

          35.     A Defendant is required to remove the existing architectural barriers to the

   physically disabled when such removal is readily achievable for their place of public

   accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

   discrimination, injury and damage without the immediate relief provided by the ADA as requested

   herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

   Defendants’ place of public accommodation in order to determine all of the areas of non-

   compliance with the Americans with Disabilities Act.

          36.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

   the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

   and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

   or waived by the Defendant.

          37.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

   Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate their

   businesses, located at and/or within the commercial property located at 8711 SW 9th Terrace,

   Miami, Florida 33174, the exterior areas, and the common exterior areas of the Commercial

   Property and businesses located within the Commercial Property, to make those facilities readily

   accessible and useable to The Plaintiff and all other mobility-impaired persons; or by closing the

   facility until such time as the Defendants cure the violations of the ADA.

              WHEREFORE, The Plaintiffs, ACCESS 4 ALL INCORPORATED and JUAN

   CARLOS GIL, respectfully request that this Honorable Court issue (i) a Declaratory Judgment


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   determining Defendants at the commencement of the subject lawsuit were and are in violation of

   Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.; (ii) Injunctive relief

   against Defendants including an order to make all readily achievable alterations to the facilities;

   or to make such facilities readily accessible to and usable by individuals with disabilities to the

   extent required by the ADA; and to require Defendants to make reasonable modifications in

   policies, practices or procedures, when such modifications are necessary to afford all offered

   goods, services, facilities, privileges, advantages or accommodations to individuals with

   disabilities; and by failing to take such steps that may be necessary to ensure that no individual

   with a disability is excluded, denied services, segregated or otherwise treated differently than other

   individuals because of the absence of auxiliary aids and services; (iii) An award of attorneys’ fees,

   costs and litigation expenses pursuant to 42 U.S.C. § 12205; and (iv) such other relief as the Court

   deems just and proper, and/or is allowable under Title III of the Americans with Disabilities Act.


      Dated: June 30, 2021.

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                                                      By: ___/s/_Anthony J. Perez________
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